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                  Case No. 23-1827 Consolidated into 23-1825

                       United States Court of Appeals
                          For the Seventh Circuit
                   ──────────────────────────
JEREMY W. LANGLEY, et al

      Plaintiffs-Appellees,
v.
BRENDAN KELLY, et al.,

      Defendants-Appellants.
                ──────────────────────────
           On Appeal from the United States District Court
                 for the Southern District of Illinois
                    Case No. 3:23-cv-00209-SPM
                   Honorable Stephen P. McGlynn
             ──────────────────────────
  OPPOSITION OF PLAINTIFF APPELLEES’ JEREMY W. LANGLEY,
    TIMOTHY B. JONES AND MATTHEW WILSON AND TO STATE
 APPELLANTS-DEFENDANTS’ EMERGENCY MOTION TO STAY THE
 DISTRICT COURT’S PRELIMINARY INJUNCTION PENDING APPEAL
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                                 INTRODUCTION

      It is somewhat ironic that, within days of the U.S. Supreme Court asking the

City of Naperville to defend its similar firearm ban, in light of Bruen, this Court

asked Plaintiffs, in essence, to justify the District Court preliminary injunction in

light of Friedman v. City of Highland Park, Illinois, 784 F. 3d 406 - Court of

Appeals, 7th Circuit 2015, and Wilson v. Cook County, 937 F. 3d 1028 - Court of

Appeals, 7th Circuit 2019. In so doing, the Preliminary Injunction, entered after

full briefing and argument in the District Court, was stayed, pending further order

of this Court.

                                    ARGUMENT

      As an initial matter, Defendants should have proceeded with their request to

stay the preliminary injunction in the District Court, before presenting same here.

See F.R.A.P. 8. Instead, they jumped straight to this Court without giving the

District Court a change to consider the issue. That alone is enough to justify not

staying the District Court Preliminary Injunction.

      As to the merits, the Second Amendment protects arms that are commonly

possessed by law-abiding citizens for lawful purposes, especially, but not limited

to, self-defense in the home. See New York State Rifle & Pistol Ass’n, Inc. v. Bruen,

142 S. Ct. 2111, 2128 (2022) (citing D.C. v. Heller, 554 U.S. 570, 629 (2008)). The
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arms banned by the State are possessed by millions, if not tens of millions of law

abiding citizens for lawful purposes, including self-defense in the home and

elsewhere.

      Under The Supreme Court’s precedents, “that is all that is needed for

citizens to have a right under the Second Amendment to keep such weapons.”

Friedman v. City of Highland Park, Ill., 577 U.S. 1039 (2015) (Thomas, J., joined

by Scalia, J., dissenting from denial of certiorari). There cannot be the slightest

question, therefore, that the challenged laws are unconstitutional.

      This Court asked for the Plaintiffs to discuss the bearing of two of this

Court’s pre Bruen decisions. Wilson was decided on the basis that Friedman was

allegedly controlling. Also, unlike in Friedman, where this Court noted that the

plaintiffs in that case have not come forward with any authority or developments

that postdate this court’s Friedman decision that requires it to reconsider that

decision, today, we have Bruen, which effectively overruled most of this Circuit’s

Second Amendment law. Under a proper Bruen analysis, it is likely that most of

the restrictions this Court has previously upheld, will and should fall.

      At the risk of stating the obvious, both Friedman and Wilson are pre-Bruen

cases, that, as cited supra, the author of Bruen himself, Justice Thomas, stated he
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would have granted a writ of certiorari on the matter, as this Court’s said cases

were wrongly decided. Justice Thomas is and was correct.

      Both Friedman and Wilson rely on the same two part analysis that the

Supreme Court expressly rejected in New York State Rifle & Pistol Assn, Inc. v.

Bruen, 142 S. Ct. 2111, 2117 - Supreme Court 2022 (“Since Heller and McDonald,

the Courts of Appeals have developed a "two-step" framework for analyzing

Second Amendment challenges that combines history with means-end scrutiny.

The Court rejects that two-part approach as having one step too many.)

      The challenged laws here are unconstitutional because “[w]hen the Second

Amendment’s plain text covers an individual’s conduct, the Constitution

presumptively protects that conduct.” Bruen, 142 S. Ct. at 2129-30. Plaintiffs

desire to keep and bear for lawful purposes (including defense of their homes and

persons) the semi-automatic firearms and firearm magazines banned by the

challenged laws. A semi automatic firearm without a proper magazine is the same

as a computer without the proper software, or a printing press without paper,

fundamentally useless for its intended purpose. As recently reiterated by the

Supreme Court, in its most recent statements on the Second Amendment, which

effectively overruled most of the inferior court decisions upholding gun bans,

“[T]he Second Amendment extends, prima facie, to all instruments that constitute
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bearable arms.” Bruen, 142 S. Ct. at 2132. Thus, Plaintiffs’ conduct is

presumptively protected by the Second Amendment. Id., 142 S. Ct. at 2129-30.

      Given that the Second Amendment presumptively protects Plaintiffs’

conduct, under Bruen the burden shifts to the government to attempt to rebut the

presumption of unconstitutionality by demonstrating that their absolute ban is

“consistent with the Nation’s historical tradition of firearm regulation.” Id. But it

is impossible for the State to carry such a burden because the Supreme Court has

held since Heller that no founding era precedent remotely burdens Second

Amendment rights as much as an absolute ban on a category of arms commonly

held by law-abiding citizens for lawful purposes. See Bruen, 142 S. Ct. at 2128

(citing Heller, 554 U.S. at 631-32).

      In Bruen, the Supreme Court observed that if the last 10 years of Second

Amendment litigation have taught it anything, it is that the inferior federal courts,

including this very court, too often have deferred to restrictions on Second

Amendment rights. Id., 142 S. Ct. at 2131. The Supreme Court intended Bruen to

be a rather strong correction in the treatment of Second Amendment cases by the

lower courts, and to make crystal clear that the Second Amendment is not a second

class right, to be balanced away by legislatures and judges, who are generally

guarded by the very arms and magazines that the challenged statute seeks to
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deprive ordinary law abiding persons from protecting their own homes, places of

work and families with. Id.142 S. Ct. at 2156.

      Said another way, in essence, Bruen threw Friedman and Wilson on the same

dustbin of history as Plessy v. Ferguson, 163 U.S. 537 (1896) and Dred Scott v.

Sandford, 60 U.S. (19 How.) 393 (1857), along with this Court’s decision in NRA

v. City of Chicago, 567 F. 3d 856 (7th Cir 2009)(declining to incorporate the

Second Amendment as against the states).

      Friedman also expressly limited its constitutional protections to firearms

common, in 1791. Friedman , 784 F. 3d at 411. In that regard, the decision

disregarded the Supreme Court’s decision in Heller, which stated, "the Second

Amendment extends, prima facie, to all instruments that constitute bearable arms,

even those that were not in existence at the time of the founding," District of

Columbia v. Heller, 554 U.S. 570, 582, 128 S.Ct. 2783, 171 L.Ed.2d 637 (2008),

This was reaffirmed in Caetano v. Massachusetts, 136 S. Ct. 1027 - Supreme Court

2016. Caetano v. Massachusetts, 577 U.S. 411 (2016) reaffirmed that the limit of

the Second Amendment’s coverage was not limited to 1791 technology, any more

than the First Amendment is limited to the Gutenberg printing press or the Fourth

Amendment limited to actual literal paper.

      Friedman also found that the fact that other arms were available for self

defense somehow a relevant factor (Friedman, 784 F. 3d at 411), despite the fact
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that Heller itself rejected that argument. Heller, 128 S.Ct. 2783, 2818 (2008).

Thus, Friedman was obviously wrong from the start.

      In any event, our Supreme Court has stated that, the “Second Amendment

extends, prima facie, to all instruments that constitute bearable arms, even those

that were not in existence at the time of the founding.” District of Columbia v.

Heller, 128 S.Ct. 2783, 2792 (2008).

      To limit citizens to grossly obsolete arms, like the muskets or Kentucky

Long Rifles used in the Revolutionary War, is to eviscerate the Second Amendment

much the way that George Orwell described the “Commandments” altered in

Animal Farm. A Charleville musket, state of the art in 1791, would almost be a

liability in 2023 combat, limiting the American citizen to a level of arms and

defense grossly inferior to any that of any foe they are likely to actually face.

Whatever else can be said about the Second Amendment, if the arms that it protects

are not at least roughly equal to the arms possessed by those that would do criminal

violence to law abiding persons, be those criminals burglars, rioters, or any of the

long list of those that would do criminal violence on the members of the American

public, then the Second Amendment might as well be a dead letter. Fortunately,

American citizens are not limited to the arms that the see on display at history

museums, modern devices are protected. District of Columbia v. Heller, 554 U.S.
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570, 582, 128 S.Ct. 2783, 171 L.Ed.2d 637 (2008), Caetano v. Massachusetts, 136

S. Ct. 1027 - Supreme Court 2016.

                                     CONCLUSION

      Accordingly, this Court should allow the Preliminary Injunction of the

Southern District of Illinois to again take effect, and to remain in effect, pending

final resolution of these matters.

Dated: May 9, 2023                             Respectfully Submitted,
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